\ghglliq19-cv-00474-3TN-ESC ECF No. 1-1 filed 06/13/19 PagelID.5 Page 1of7

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO ist copy - Defendant 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT
Y7TH JUDICIAL CIRCUIT SUMMONS 19- eg 7 NI
COUNTY PROBATE CAS
Court address Court telephone no.
180 Ottawa Avenue NW, Suite 2460, Grand Rapids, Michigan 49503 616-632-5480
Plaintiffs name(s), address(es}, and telephone no(s}. Defendant's name(s), address(es), and telephone nojs}.
Robert Scoby Gary Connelly
4690 Treasure Trail SW 19885 Sunny Hill Drive
Wyoming, Michigan 49519 ¥ Musego, Wisconsin $3150

 

Plaintiff's attorney, bar no., address, and telephane no.

Stephen J. De Haan (P35955)
Stephen De Haan, P.C.

800 Monroe Avenue NW, Suite 314
Grand Rapids, Michigan 49503
616-454-3300

 

 

 

 

 

 

Instructions: Check the iterns below that apply to you and provide any required information. Submit this farm ta the court clerk along with your complaint and,
if necessary, a case inventory addendum (farm MC 21). The summons section will be completed by the court clerk.

Domestic Relations Case

i_| There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family members of the person(s} who are the subject of the complaint.

__| There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
__ (form MC 21) listing those cases.
"_]It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

7 This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

—} MDHHS and a contracted health plan may have a right to recover expenses in this case. | certify that notice and a copy of

_. the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400. 106(4).

‘Y There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

“1 Acivil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
been previously filed in this court, —— Court, where

it was given case number. andd assigned to Judge

 

The action (remains [is no longer pending.

Summons section compieted by court clerk.

NOTICE TG THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

4. You are being sued.

2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written ansivet withthe court and
serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
served outside this state). Mt

3. If you do not answer or take other action within the time allowed, judgment may be entered against you: ‘for tHe relief
demanded in the complaint.

4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate in court proceedings, please contact the court immediately to make arrangements.

issue dat¢ JA i 3 ? Expiration date*_ Court clerk .

019 AUG 1 2 2019

*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

 

 

 

 

 

 

 

 

mco1 19) SUMMONS MCR 1.109(D), MCR 2.102(B), MCR 2.104, MCR 2.105
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MAY 13 2019

KENT COUNTY
IN THE CIRCUIT COURT FOR THE COUNTY OF KENT @/REUIT couRr

 

STATE OF MICHIGAN

ROBERT SCOBY,

Plaintiff, Case No.19- OTL (44 -NI
VS.
Honorable
GARY CONNOLLY, SCHNEIDER Circuit Judge
NATIONAL, INC., and OLD

REPUBLIC INSURANCE COMPANY,

Defendants.

 

Stephen J. De Haan (P35955)
Stephen De Haan, P.C.
800 Monroe Avenue NW, Suite 314
Grand Rapids, Michigan 49503
616-454-3300

Attorney for Plaintiff

 

 

 

THERE IS NO OTHER PENDING OR RESOLVED CIVIL ACTION
ARISING OUT OF THE SAME TRANSACTION OR OCCURRENCE
AS ALLEGED IN THIS COMPLAINT.
PLAINTIFF'S COMPLAINT
NOW COMES the Plaintiff, Robert Scoby, by and through his attorneys, Stephen De
Haan, P.C., and for his cause of action against the above-named Defendants states as follows:
GENERAL ALLEGATIONS
L. That the Plaintiff, Robert Scoby, lives at 4690 Treasure Trail SW, Wyoming,
Michigan 49519. He is a resident of Kent County.

2. That the Defendant, Gary Connolly, lives at 19885 Sunny Hill Drive, Musego,

Wisconsin 53150. He is a resident of Waukesha County, Wisconsin.
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3. That the Defendant, Schneider National Inc. (hereinafter "Schneider"), is a
trucking company engaged in interstate trucking. The Defendant's principle place of business is
located at 3101 Packerland Drive, Green Bay, Wisconsin 54313.

4. That the Defendant, Schneider, does business in the State of Michigan and
specifically in Kent County.

5. That the Defendant, Old Republic Insurance Company (hereinafter "Old
Republic"), is a foreign insurance company authorized to do business in the State of Michigan.
The Defendant does business in Kent County.

6. That the amount in controversy exceeds $25,000, excluding costs, interest and
attorney fees.

7. That the Plaintiff on May 16, 2018 was driving his motorcycle in an eastbound
direction on 28th Street in Grand Rapids. The Plaintiff was driving in the curb lane.

8. That at the same time, the Defendant, Gary Connolly, was driving a semi-tractor
and trailer owned by Schneider.

9. That Defendant Connolly stopped his semi-tractor and trailer in a driveway
located on the south side of 28th Street. The semi-tractor and trailer was facing northbound.

10. | That Defendant Connolly exited the driveway and made a right-hand turn into the
center turn lane. He proceeded eastbound in the center turn lane.

11. That Defendant Connolly then made a right turn from the center turn lane in an
attempt to enter yet another driveway located on the south side of 28th Street.

12. That Defendant Connolly when he made his right-hand turn from the center turn

lane turned directly in front of the Plaintiff's eastbound motorcycle.
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13. That the Plaintiff braked and then laid down his motorcycle in an attempt to avoid
the semi-tractor and trailer that had turned in front of him.

14. That the Plaintiff and the motorcycle separated and the semi-tractor and trailer
struck the motorcycle.

CAUSE OF ACTION AGAINST DEFENDANT CONNOLLY

15. That the Plaintiff repeats and realleges each and every paragraph above as though
fully set forth herein.

16. That the Defendani, Gary Connoily, at ail times material hereto owed the Plaintiff
and other drivers the duty to exercise due care and caution in the operation of his semi-tractor
amd trailer and the duty to obey the rules of the common law and the laws of the State of
Michigan.

17. That Defendant Connolly was negligent on May 16, 2018 in that he breached the

above duties, such breaches of duty including, but not being limited to, the following:

a. Failing to exercise due care and caution;

b. Failing to yield the right of way to the Plaintiff's approaching motorcycle;
c. Failing to keep a safe and proper lookout;

d. Failing to make a proper right-hand turn into the driveway located on the

south side of 28th Street;

e. Making an improper turn from the center turn lane;

f Failing to timely signal his intentions on making a right-hand tum from
the center turn lane;

g. Driving while distracted; and

h. Driving in a careless and reckless manner.
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18. That the negligence of Defendant Connolly was the sole cause of the collision.

19. That the Plaintiff at all times material hereto was exercising due care and caution
for his own safety.

20. That the Plaintiff sustained injuries and damages as a direct and proximate result
of Defendant Connolly's negligence, such injuries and damages including, but not being limited
to, the following:

a. Cervical and lumbar spine injuries constituting a serious impairment of

body function;

b. Shoulder injuries constituting a serious impairment of body function:
c. Hip injuries constituting a serious impairment of body function;

d, Pain and suffering, past, present and future;

e. Mental and emotional distress, past, present and future;

f. Loss of capacity to enjoy life, past, present and future; and

g. Potential wage loss in excess of three years.

WHEREFORE, Plaintiff Robert Scoby respectfully requests that this Honorable Court
grant him a judgment against the Defendant, Gary Connolly, in an amount in excess of $25,000,
including costs, interest and attorney fees.

CAUSE OF ACTION AGAINST DEFENDANT SCHNEIDER

21. That the Plaintiff repeats and realleges each and every paragraph above as though
fully set forth herein.

22. That Defendant Schneider owned the tractor that Defendant Connolly was driving

at the time of the collision.
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23. That Defendant Connolly was driving Defendant Schneider's tractor with the
express and/or implied permission of Defendant Schneider.

24, That Defendant Connolly was driving Defendant Schneider's tractor during the
course and scope of his employment with Defendant Schneider.

25. That Defendant Schneider is liable to the Plaintiff for the injuries and damages he
sustained under the Owner's Liability Statute and under the concept of respondeat superior.

WHEREFORE, Plaintiff Robert Scoby respectfully requests that this Honorable Court
grant him a judgment against the Defendant, Schneider National, Inc., in an amount in excess of
$25,000, including costs, interest and attorney fees.

CAUSE OF ACTION AGAINST DEFENDANT OLD REPUBLIC

26. That the Plaintiff repeats and realleges each and every paragraph above as though
fully set forth herein.

27. That Defendant Old Republic insured the tractor that Defendant Schneider owned
and that Defendant Connolly was driving as of the collision date.

28. That Defendant Old Republic, under the priority provisions of the Michigan No-
Fault Act, is responsible for the payment of first party no-fault benefits to the Plaintiff.

29. That Defendant Old Republic has refused to pay certain no-fault benefits in this
case.

30. That the Plaintiff has sustained injuries and damages as a result of Defendant Old
Republic's conduct, such injuries and damages including, but not being limited to, the payment
of medical expenses, the payment of medical mileage, the payment of replacement services, and

the payment of wage loss.
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31. That the Plaintiff has fully complied with the provisions of the Michigan No-Fault
Act.

WHEREFORE, Plaintiff Robert Scoby respectfully requests that this Honorable Court
grant him a judgment against the Defendant, Old Republic Insurance Company, in an amount in

excess of $25,000, including no-fault penalty interest, costs and attorney fees.

Respectfully submitted,

pea ee,

Dated: May 9, 2019 CT

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Wo

Stephen J. De Haan (P35955)
Stephen Dg Haan, P.C.

800 Monroe Avenue NW, Suite 314
Grand Rapids, Michigan 49503
616-454-3300

Attorney for Plaintiff

 
